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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH, and           )
JARRELL W. WALKER, JR.             )


                                ORDER

    It is ORDERED that the government’s motion to exclude

(Doc. No. 2311) is granted.            The court agrees with the

statements made in the motion.

    DONE, this the 17th day of February, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
